Case 4:19-cv-00300-RH-MJF Document 386 Filed 04/27/20 Page 1 of 4

AO 8&8 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action

UNITED STATES DISTRICT COURT

for the

Northern District of Florida

Tallahassee Division
KELVIN LEON JONES, et al.,
Plaintiff

V.
RON DeSANTIS, et al.,

Defendant

Civil Action No. 4:19-cv-300-RH/MJF

— ee ee ae

SUBPOENA TO APPEAR AND TESTIFY
AT A HEARING OR TRIAL IN A CIVIL ACTION

To: Toshia Brown, Chief, Bureau of Voter Registration Services, Florida Dept. of State
R.A. Gray Building, 500 S. Bronough Street, Suite 100, Tallahassee, FL 32399-6519

(Name of person to whom this subpoena is directed)

YOU ARE COMMANDED to appear in the United States district court at the time, date, and place set forth below
to testify at a hearing or trial in this civil action. When you arrive, you must remain at the court until the judge or a court
officer allows you to leave.

Place: Courtroom No.:
*SEE INSTRUCTIONS BELOW fn 2 a

Date and Time: 94/28/2020 9:10 am

You must also bring with you the following documents, electronically stored information, or objects (leave blank if
not applicable):

* Due to the COVID-19 pandemic, appearance is through electronic means. Please contact issuing counsel should
you have any questions. You may appear remotely from a location of your choosing by selecting this link on an
internet capable device:

NOTE: THIS LINK IS UNDER SEAL FOR USE FOR ATTORNYES AND WITNESSES ONLY AND NOT TO BE
SHARED

The following provisions of Fed. R. Civ. P. 45 are attached — Rule 45(c), relating to the place of compliance; Rule
45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to respond
to this subpoena and the potential consequences of not doing so.
Date: 04/27/2020

CLERK OF COURT
OR

LPO ‘

Signature of Clerk or Deputy Clerk Attorney's signature

 

The name, address, e-mail address, and telephone number of the attorney representing (name ofparty) Plaintiffs —

Bonnie Raysor, Diane Sherrill, Lee Hoffman , who issues or requests this subpoena, are:

Chad W. Dunn, Brazil & Dunn, LLP, 1200 Brickell Ave., Suite 1950, Miami, FL 33131
Phone: (305) 783-2190; Fax: (305) 783-2268; chad@brazilanddunn.com

 

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Notice to the person who issues or requests this subpoena =
If this subpoena commands the production of documents, electronically stored informa Of Gi before
trial, a notice and a copy of the subpoena must be served on each Pore eR ie baie is-sérved on the person to
whom it is directed. Fed. R. Civ. P. 45(a)(4). i eal ATX Process, LLC

— 604 West 9th Street
Suite B

Auctin, TX 7E7N
Case 4:19-cv-00300-RH-MJF Document 386 Filed 04/27/20 Page 2 of 4

AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 2)
Civil Action No, 4:19-cv-300-RH/MJF

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

CHI served the subpoena by delivering a copy to the named person as follows:

on (date) ; Or

C11 returned the subpoena unexecuted because:

 

 

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$ — _—

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

 

 

Date: ee ee
Server's signature
Printed name and title
Additional information regarding attempted service, etc.: eo ATX Process, LLC
604 West 9th Street
Suite B

Austin, TX 78701
Case 4:19-cv-00300-RH-MJF Document 386 Filed 04/27/20 Page 3 of 4

AO 88 (Rev. 02/14) Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action (page 3)
Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c) Place of Compliance.

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party's officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d) Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney's fees—on a party or attorney who
tails to comply.

(2) Command to Produce Materials or Permit Inspection.

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial.

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party's officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies: or

(iv) subjects a person to undue burden,

(B) Vhen Permitted. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert's
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. In the circumstances
described in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronically Stored Information. These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronically Stored Information. The person
responding need not provide discovery of clectronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) Jnformation Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) Information Produced, If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required—and also, afier a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

    
 

ATX Process, LLC
604 West 9th Street
Suite B
Austin, TX 78701
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RETURN OF SERVICE

UNITED STATES DISTRICT COURT
Northern District of Florida

Case Number. 4:19-CV-300-RH/MJF

Plaintiff:

Kevin Leon Jones, et al.

vs.

Defendant: ATX2020004320

Ron DeSantis, et al.

For:

Brazil & Dunn, LLP
4407 Bee Caves Road
Bidg. 1, Ste. 111
Austin, TX 78746

Received by ATX PROCESS, LLC on the 27th day of April, 2020 at 11:29 am to be served on Toshia Brown, Chief, Bureau of Voter
Registration Services, Florida Dept. of State, R.A. Gray Bultding, 500 S. Bronough St., Suite 100, Tallahassee, FL 32399.

|, JAMES KADY, do hereby affirm that on the 27th day of April, 2020 at 1:17 pm, I:

served a CORPORATE, PARTNERSHIP, ASSOCIATION OR GOVERNMENT SERVICE by delivering a true copy of the
Subpoena to Appear and Testify at a Hearing or Trial in a Civil Action and Federal Rule of Civil Procedure 45 (c), (d), (e),
and (g) (Effective 12/1/13) with the date and hour of service endorsed thereon by me, to: ASHLEY DAVIS as DEPUTY GENERAL
COUNSEL authorized to accept service, of the within named corporation, at the address of: 500 S. BRONOUGH STREET, SUITE
100, TALLAHASSEE, FL 32301 on behalf of Toshia Brown, Chief, Bureau of Voter Registration Services, Florida Dept. of
State, and informed said person of the contents therein, in compliance with state statutes.

Description of Person Served: Age: 37, Sex: F, Race/Skin Color. WHITE, Height: 5'2", Weight: 95, Hair: BLONDE, Glasses: N
| certify that | am over the age of 18, have no interest in the above action, and am a Certified Process Server, in good standing, in the

judicial circuit in which the process was served. "Under penalties of perjury, | declare that i
have read the foregoing dacumenl and that the facts in it are true” F.S. 92.525. NOTARY NOT REQUIRED PURSUANT TO FS 92.525

 

JAMES KADY
65

ATX PROCESS, LLC
704 W. 9TH STREET
AUSTIN, TX 78701
(542) 717-5600

Our Job Serial Number: ATX-2020004320

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